EXHIBIT 28
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 AMERICAN ASSOCIATION OF
 UNIVERSITY PROFESSORS—HARVARD
 FACULTY CHAPTER, and AMERICAN                      Case No. __________
 ASSOCIATION OF UNIVERSITY
 PROFESSORS,

                       Plaintiffs,

                v.

 UNITED STATES DEPARTMENT OF
 JUSTICE, et al.

                       Defendants.



                              Declaration of Meredith Rosenthal

I, Meredith Rosenthal, declare as follows:

       1.      I am the C. Boyden Gray Professor of Health Economics and Policy in the Depart-

ment of Health Policy and Management at the Harvard T.H. Chan School of Public Health. I am

also the Director of Graduate Studies for the Harvard PhD Program in Health Policy. I previously

served as the Associate Dean for Diversity at the Harvard School of Public Health for 8 years,

overseeing the Office of Diversity and Inclusion. I joined the Harvard University faculty in 1998.

       2.      I earned my B.A. in International Relations from Brown University in 1990 and my

PhD in Health Policy from Harvard University in 1998.

       3.      My research focuses on policies to improve affordability, equity, and access to

healthcare in the United States. This includes the design and impact of market-based health policy

mechanisms, with a particular focus on the use of financial incentives to alter consumer and
provider behavior. I have advised federal and state policymakers in healthcare payment policy and

its implementation.

       4.      My work has been published in the New England Journal of Medicine, the Journal

of the American Medical Association, Health Affairs, and numerous other peer-reviewed journals.

In 2014, I was elected to the National Academy of Medicine. I also serve on advisory boards for

the Peterson Center on Health Care, The Source on Health Care Price and Competition, and the

LGBTQ Health Center of Excellence.

       5.      I am a member of the American Association of University Professors (“AAUP”)

and AAUP – Harvard Faculty Chapter.

       6.      I am over the age of 18 and competent to testify as to the matters set forth in this

affidavit based on my own personal knowledge.

       7.      I am aware that the current administration has taken a series of actions targeting

Harvard. In particular, I am aware that on March 10, 2025, the federal government sent a letter to

Harvard and other universities warning of potential enforcement actions. I am aware that on March

31, 2025, the federal government announced a comprehensive review of federal contracts and

grants at Harvard University and its affiliates. Most recently, I am aware that on April 3, 2025,

officials from the Trump administration sent a letter to Harvard, that was made public, demanding

that Harvard immediately implement a long list of “reforms” to remain a recipient of federal fund-

ing (the “Demand Letter”). I have read the demands listed in the Demand Letter.

       8.      I am also aware of public statements made by the Trump administration beginning

in early 2025 attacking the work of university researchers and the integrity of the university, and

making a variety of threats about ways the federal government intends to use its authority to im-

pose a moving target list of demands on Harvard.




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       9.      I am aware of the cancellation of $400 million in federal grants and contracts to

Columbia University and the changes Columbia agreed to implement as a result of these funding

cuts and other Trump administration demands. Colleagues in my department and I have been fol-

lowing what has been going on at Columbia and there has been a lot of discussion, fear, and un-

certainty. I am also aware that even though Columbia capitulated to the Trump administration’s

demands, Columbia’s federal funding has not been restored.

       10.     It is my understanding that Harvard preemptively took a series of actions in antici-

pation of similar threats to cancel its federal funding and in response to threats made by the Trump

administration targeted at Harvard beginning in early 2025. Harvard implemented a blanket hiring

freeze across campus in anticipation of the administration’s actions, which extended into research

assistant positions funded by federal grants.

Research Funding

       11.     Approximately sixty percent of my salary comes from research grants, including

those funded by National Institutes of Health (“NIH”) and The Agency for Healthcare Research

and Quality. Harvard pays a portion of my salary for my non-research work, including teaching

students and co-directing the Health Policy PhD program, but federal funding has provided critical

support for my work over the course of my career.

       12.     I am, for example, the co-investigator on a research grant from the National Insti-

tute on Minority Health and Health Disparities program at NIH with a fellow Harvard colleague.

The grant, titled “Evaluating an Intervention to Improve Medication Access and Quality of Care

for Underserved Populations with Chronic Conditions,” funds research to improve health out-

comes and eliminate health disparities. More specifically, we are studying how a tool designed to

help physicians offer their patients lower cost medication alternatives can help reduce out-of-




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pocket costs and increase medication adherence among people with chronic conditions. One aim

of the research is to understand whether the tool differentially benefits patients based on their

socioeconomic status and geographic location.

       13.     The grant provides almost $2.5 million in federal funding over 3.5 years. We cur-

rently have one more year left on our funding term. Grant funding provides salary support for four

faculty at Harvard (including myself), two research assistants, a PhD student, and collaborators at

two other institutions.

       14.     As discussed above, Harvard has instituted a hiring freeze in anticipation of threats

by the Trump administration. The hiring freeze has impacted my team directly: even though we

currently still have the funding to cover the salaries of our team members, we have been unable to

extend the employment of an invaluable research colleague of mine whose work is instrumental

to parsing through the data from our study and interpreting its results, nor hire the research assis-

tants we need to help out with our study day-to-day.

       15.     A loss of NIH funding would be devastating for our health policy research. Without

federal funding, we would quickly run out of money to continue our work and would likely have

to stop our study entirely. It would be almost impossible to raise private, foundation funding to

finish our research if our federal funding were to be cut because there are so few funding sources

for data-heavy projects. We would not receive substantive answers to questions we have spent

many resources trying to answer. This also very quickly would lead to gaps in grant research,

which may be career-ending, particularly for our PhD students and my non-tenured junior col-

leagues.

       16.     We also undoubtedly would have to let go of some of our staff if the NIH rescinds

our grant money. Our staff are entirely grant-funded; their positions are contingent in part on NIH




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funding. The grants also fund graduate student summer research, providing PhD students with the

valuable opportunity to produce written work product about their research. None of this would be

possible without federal funding.

       17.     A loss of federal funds would make collaboration across institutions much more

challenging. Ambitious, federally-funded programs, like the one I conduct research under, allow

multiple faculty members from different disciplines to work closely together and produce more

robust research. Those opportunities for academic discourse and innovation would vanish, even if

we were able to secure smaller, private funding sources.

       18.     It feels futile to apply for additional NIH funding while the Trump administration

continues to wage a war against academic and research freedom. I believe my current grant and

future grants I could apply for fall within the funding the Trump administration has threatened to

withhold from Harvard.

       19.     I am very worried about what will happen with our upcoming annual renewal. Our

federal grants are re-authorized every year (in this case on June 1), in what is typically a very

routine process that involves providing some reporting on how the funds were spent and progress

made on the study. This year, however, in light of the tumultuousness around federal funding,

whether the NIH renews our grant is more uncertain than ever. While our whole team has been

working overtime to squeeze in as much work as possible while we still have our grant funding,

there is simply no way we will be able to finish our research before our grants are up for renewal.

This rush to squeeze in as much work as possible under threat of funding termination could affect

the quality of our research and has taken a significant toll on the entire team.

       20.     In addition, as a tenured professor and longtime graduate student advisor, I can

confidently say that a funding cut would have catastrophic effects on all those involved,




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particularly on my junior colleagues. I am particularly fearful that any colleagues who are coming

up for tenure will be denied tenure if their research falls under the broad areas for “reform” listed

in the Demand Letter.

Impact on Speech and Academic Freedom

        21.     I firmly believe that equity is at the root of public policy—I have dedicated my

career to improving health and affordability for everyone, both through my research and by over-

seeing the school’s Office of Diversity and Inclusion (from 2013-2018) to improve diversity, eq-

uity and inclusion of those who work in the industry and on our campus. I worry that the Trump

administration will label my focus on equitable access to healthcare as an “ideologically captured”

DEI program and demand that the school “shutter” the program, particularly because of my former

diversity-related administrative role, but because of the vagueness of the Demand Letter, I cannot

be sure.

        22.     As the Director of Graduate Studies and a PhD advisor, I interact closely with Har-

vard’s health policy doctoral students on a daily basis. I have had heartbreaking conversations with

my graduate students about the risks associated with pursuing questions and topics related to the

administration’s political agenda due to fear that it will inhibit their ability to receive federal grants

and find an academic job. Receiving federal grants is not just about the funds themselves—it is a

key indication that your peers recognize the rigor and caliber of your work because federal grant

applications are always peer-reviewed. This is already having an immediate effect on the questions

that Harvard’s brightest minds are choosing to examine and discuss and sends a powerful message

to our students about the priorities of the administration.

        23.     I have been anticipating the loss of federal funds and its wide-reaching ramifica-

tions, including the potential impact of demands the Trump administration may issue to avoid the

loss of funds, since January. Those fears spiked when the Trump administration began calling out


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Harvard explicitly, and have only compounded in the last month since Harvard received the De-

mand Letter.

       24.     That fear was felt across campus. During our most recent admissions cycle, it forced

our school to confront painful new realities about our financial capacity for accepting new students.

During this recent admissions season, which ended at the end of March 2025, many of the PhD

programs in the Harvard T.H. Chan School of Public Health admitted fewer students, and our

Global Health program accepted no new students at all. With the vulnerable state of our federal

funding, many programs determined they needed to contract in size in order to meet existing com-

mitments to current PhD students without federal funds.

       25.     I am scared to submit this testimony and identify myself publicly. However, I feel

strongly about both the importance of my work for public health and about protecting academic

freedom. As a tenured faculty member and respected academic in my field, I feel a particular

responsibility to speak out from my place of relative security in defense of the students and junior

professors at Harvard who are unable to speak so publicly for fear of retaliation against themselves

or their loved ones.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



Dated: April 11, 2025                 Signed: ___________________

                                      Meredith B. Rosenthal, PhD.
                                      C. Boyden Gray Professor of Health Economics and Policy




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